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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1049V
                                       Filed: July 23, 2019
                                         UNPUBLISHED


    NACOLE TROUPE-ROBERTS,

                         Petitioner,                          Special Processing Unit (SPU);
    v.                                                        Ruling on Entitlement; Concession;
                                                              Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                   Shoulder Injury Related to Vaccine
    HUMAN SERVICES,                                           Administration (SIRVA)

                        Respondent.


Shealene Priscilla Mancuso, Muller Brazil, LLP, Dresher, PA, for petitioner.
Ryan Daniel Pyles, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On July 18, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccination administered on
August 29, 2016. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.



1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On July 22, 2019, respondent filed his Rule 4(c) report in which he concedes that
petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, respondent has concluded that “petitioner’s claim meets the Table criteria
for SIRVA.” Id. at 3. Respondent further agrees that “the case was timely filed, that the
vaccine was received in the United States, and that petitioner satisfies the statutory
severity requirement by suffering the residual effects or complications of her injury for
more than six months after vaccine administration.” Id. at 4. Petitioner also states that
“no civil action or proceedings have been pursued in connection with the vaccine-
related injury.” Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master
